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2    Gold River, CA 95670
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3
     Attorneys for Defendant
4
     Stanislov Carpenco
5
6                          IN THE UNITED STATES DISTRICT COURT
7                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                                ) Case No.: 2:15 CR 197 MCE
     UNITED STATES OF AMERICA,                   )
10                                               ) STIPULATION AND ORDER
                    Plaintiff,                   ) CONTINUING STATUS CONFERNCE
11                                               )
            v.                                   )
12                                               )
     STANISLOV CARPENCO,                         )
13                                               )
                    Defendant.                   )
14
15
            It is hereby stipulated between the parties, Paul Hemesath, Assistant United States
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17
     Attorney, Ben Galloway, attorney for Marina Dushenko, and Michael Chastaine, attorney

18   for Stanislov Carpenco, that the status conference date of Friday, February 2, 2018 should
19
     be continued until Friday, June 15, 2018. The continuance is necessary in that the
20
     defense needs additional time to review the discovery, complete investigation and go
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22   over it with their respective clients. Further, the Government is reviewing additional
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     information and all parties are involved in settlement negotations.
24
            IT IS STIPULATED that the period of time from the February 2, 2018 up to and
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26   including June 15, 2018 be excluded in computing the time within which the trial must
27   commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and Local
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     Code T4, for ongoing preparation of counsel. It is further stipulated that the need for a
1
2    continuance and continued counsel preparation outweighs the interests of the public and
3    the defendant in a speedy trial.
4
5    .

6    Dated: January 31, 2018                   By: ____/s/ Michael Chastaine
                                                     MICHAEL CHASTAINE
7                                                    Attorney for Stanislov Carpenco
8
9
     Dated: January 31, 2018                   By: ____/s/ Ben Galloway
10                                                   BEN GALLOWAY
11                                                   Attorney for Marina Dushenko

12
13
14   Dated: January 31, 2018                           McGREGOR SCOTT
15                                                     United States Attorney

16                                                     By: /s/ Paul Hemesath___
17                                                     PAUL HEMESATH
                                                       Assistant U.S. Attorney
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1                                              ORDER
2           GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
3           IT IS HEREBY ORDERED that the status conference scheduled for Friday,
4    Feburary 2, 2018 at 9:00 a.m. be continued to Friday, June 15, 2018 at 9:00 a.m. and that
5    the period from Feburary 2, 2018 to June 15, 2018is excludable from calculation under
6    the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local rule T4. Further,
7    that the need for a continuance and continued counsel preparation outweighs the interests
8    of the public and the defendant in a speedy trial.
9    Dated: January 31, 2018
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